
*948OPINION.
Littleton:
It is contended by the petitioner that amounts collected by him as the executor on account of services rendered prior *949to the decedent’s death, represented capital in the hands of the estate at decedent’s death, and, therefore, were not taxable income when received by the estate. On the other hand, Commissioner contends that amounts collected constituted taxable income when received by the estate.
The claim of the executor is correct. Nichols v. United States, (Ct. Cls.), 6 Am. Fed. Tax Rep. 6592; Walter R. McCarthy, Executor, 9 B. T. A. 525; George Nichols et al., Executors, 10 B. T. A. 919.

Judgment of no'deficiency will he entered.

